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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  ZAXCOM, INC.,                                    )
                                                   )
                     Plaintiff,                    )
                                                   )
           v.                                      )        C.A. No. 23-1245-JFM
                                                   )
  RODE MICROPHONES, LLC AND                        )
  FREEDMAN ELECTRONICS PTY LTD.,                   )
                                                   )
                 Defendants.                       )

                      STIPULATION AND ORDER TO EXTEND TIME

       WHEREAS, on January 2, 2024, the Court entered an order (D.I. 10) setting several

deadlines including for an initial pretrial videoconference, an initial Rule 26(f) conference, the

exchange of initial disclosures, the beginning of the discovery period, and the Rule26(f) report;

       WHEREAS, on January 29, 2024, Plaintiff filed a letter (D.I. 12) indicating that

defendant Freedman Electronics Pty Ltd. has not yet been served and requesting that all further

proceedings be stayed until all parties have been served;

       WHEREAS, on January 29, 2024, the Court entered an order (D.I. 13) cancelling several

deadlines, including for filing the Rule 26(f) report and initial pretrial videoconference, and

setting a status report deadline;

       WHEREAS, the January 30, 2024 deadlines for the parties’ exchange of initial

disclosures and the beginning of the discovery period were not cancelled by the Court’s order at

D.I. 13;

       NOW, THEREFORE, the parties hereby stipulate and agree, subject to the approval of

the Court, that the time for the parties to exchange initial disclosures under Fed. R. Civ. P. 26(a)

and for the parties to begin the discovery period, including by exchanging written discovery
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requests, is extended from January 30, 2024 to and including fourteen (14) days after the parties’

deadline to file a Rule 26(f) report.

/s/ Sean T. O’Kelly                           /s/ Emily S. DiBenedetto
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                                              Attorneys for RODE Microphones, LLC



       SO ORDERED this _____ day of_____________, 20____.


                                             ________________________________
                                                 United States District Judge
